Case 1:23-cv-00108-LMB-JFA          Document 1428            Filed 05/02/25     Page 1 of 1 PageID#
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 UNITED STATES OF AMERICA, et al.,                       )
                                                         )
                Plaintiffs,                              )
                                                         )
        V.                                               )      l:23-cv-108(LMB/JFA)
                                                         )
 GOOGLE LLC,                                             )
                                                         )
                Defendant,                               )

                                             ORDER


       For the reasons stated in open court, the Joint Proposal Regarding Adjudication of

Equitable Remedies [Dkt. No. 1416] is adopted, and it is hereby

       ORDERED that the following schedule applies to the remedies phase of this civil action.



    The parties will each file with the Court their proposals for
                                                                                  May 5,2025
    appropriate remedies in this matter.
    Factual discovery on the parties* proposals begins.                           Immediately
    The parties will each file with the Court their response to the
    opposing party’s proposal for the appropriate remedies in this               May 19,2025
    matter.

    Factual discovery on the parties’ proposals closes.                          June 30,2025
    The parties shall simultaneously serve expert reports and                     July 7, 2025
    disclosures consistent with Rule 26(a)(2).
    The parties shall simultaneously serve opposition expert reports
    and disclosures.
                                                                                 July 28, 2025
    The parties shall simultaneously serve reply reports.                       August 11, 2025

    Expert discovery on the parties* proposals closes.                          August 27, 2025
    The parties will each file proposed orders reflecting the
                                                                               September 5, 2025
    appropriate remedies in this matter.
    The parties will each file responses to the opposing party’s              September 19, 2025
    proposal for the appropriate remedies in this matter.
    The parties’ proposed remedies trial commencement date.                   September 22,2025

       The Clerk is directed to forward copies of this Order to counsel of record.

       Entered this      day of May, 2025,

Alexandria, Virginia                                                                 /s/
                                                                      Leonie M. Brinkema
                                                                      United States District Judge
